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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Christine M. Arguello


  Criminal Action No. 20-cr-00222-CMA-GPG-03

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  3. VICTOR MANUEL ORTEGA-OCHOA,

         Defendant.


   ORDER ADOPTING AND AFFIRMING DECEMBER 22, 2020 RECOMMENDATION
                OF UNITED STATES MAGISTRATE JUDGE


         This matter is before the Court on the Recommendation of Magistrate Judge

  Gallagher (Doc. #56). The Court notes that pursuant to the terms of the written plea

  agreement, Defendant entered a plea of guilty to Count Five of the Indictment which

  charging a violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(vi), distribution of 40 grams

  or more of fentanyl, and Count Eighteen of the Indictment charging a violation of 18

  U.S.C 922(g)(5)(A) possession of a firearm by a prohibited person. The Court also

  notes that Defendant consented to Magistrate Judge Gallagher advising him with regard

  to his Constitutional rights and his rights pursuant to Rule 11 of the Federal Rules of

  Criminal Procedure. Magistrate Judge Gallagher conducted the Rule 11 hearing on

  December 22, 2020, at which time he appropriately advised the Defendant of his rights

  and made inquiry as to the Defendant’s understanding of the charges, the terms of the


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  plea agreement, the voluntariness of his plea, and of the consequences of pleading

  guilty. Based on that hearing Magistrate Judge Gallagher recommended that the District

  Court Judge accept Defendant's plea of guilty to Counts One and Eighteen of the

  Indictment.

        Neither the Defendant nor the Government has filed any objections to the

  Magistrate Judge=s Recommendation; therefore, it is ORDERED THAT:

        1.      Court Exhibits 1 and 2 are accepted and admitted.

        2.      The plea as made in open court on December 22, 2020 is accepted and
                the Defendant is adjudged guilty of violations of 21 U.S.C. §§ 841(a)(1)
                and (b)(1)(B)(vi) and 18 U.S.C. § 922(g)(5)(A).

        DATED: January 11, 2021


                                    BY THE COURT:


                                    ___________________________________
                                    CHRISTINE M. ARGUELLO
                                    United States District Judge




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